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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
GEOFFREY OSBERG                                               :
                                                              :
On behalf of himself and on                                   :
behalf of all others similarly situated,                      :
                                                              : Case No.: 07 CV 1358 (KBF)
                           Plaintiff,                         :
                                                              :
         - against -                                          :
                                                              :
FOOT LOCKER, INC.,                                            :
                                                              :
FOOT LOCKER RETIREMENT PLAN,                                  :
                                                              :
                           Defendants.                        :
--------------------------------------------------------------X

                                   JOINT PRETRIAL ORDER

       1.      Trial Counsel. For Plaintiff and the Class: Eli Gottesdiener, Steven D. Cohen,

Albert Huang, Gottesdiener Law Firm, PLLC, 498 7th Street, Brooklyn, NY 11215,

718.788.1500; 718.788.1650 (fax). For Defendants: Myron D. Rumeld, Joseph E. Clark,

Proskauer Rose LLP, 11 Times Square, New York, NY 10036; Robert Rachal, Proskauer Rose

LLP, 650 Poydras Street #1800, New Orleans, LA 70130.

       2.      Number of Trial Days Requests. The Court has ruled that “[t]here will only be

8 days of trial time allotted, split evenly.” 6/12/15 Order (Dkt. 315). Plaintiff and the Class

request an allotment that reflects the fact that they have the burden of proof and the right to

present a rebuttal of the defense’s case. Defendants agree with the Court’s determination that 8

days of trial is appropriate, with 4 days for each party, particularly given that direct testimony is

offered by declaration, and Plaintiff and the Class have access to many witnesses with whom

Defendants are not permitted to communicate.
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       3.      Jointly Agreed Stipulations or Statements of Fact. In 2012, the parties

previously reached a stipulation (Dkt. 66), a copy of which is attached hereto as Ex. 1 for the

Court’s convenience. Ex. 2 attached hereto is Defendants’ statements of fact to which the Class

does not dispute.

       4.      Witnesses Expected to be Offered in the Cases-in-Chief. The parties’

statements as to the actual witnesses whose testimony they expect to offer in their cases-in-chief

are attached hereto as Ex. 3.

       5.      Deposition Designations. A spreadsheet in Excel format setting forth the Class’s

designations of deposition testimony, together with cross-designations, objections and responses

to objections and support therefore and a column for the Court’s rulings is attached hereto as

Ex. 4. Defendants’ spreadsheet is attached hereto as Ex. 5. Transcripts showing the Class’s

designations, cross-designations and objections in accordance with the Court’s Individual Rules

of Practice are attached hereto as Exs. 4A-4F. Defendants’ transcripts are attached hereto as

Exs. 5A-5E. In the highlighted transcripts, the Class is is using: green to indicate its own

designations; blue to indicate Defendants’ cross-designation; yellow to indicate testimony that is

being designated by the Class and cross-designated by Defendants; and red to indicate any

objections by either party. Defendants are using: green to indicate its own designations; blue to

indicate the Class’s cross-designations; red to indicate the Class’s objections; and yellow to

indicate testimony that is being designated by Defendants and cross-designated by the Class.

       6.      Exhibits. A spreadsheet in Excel format setting forth the exhibits the parties

expect to offer in their cases-in-chief, together with one star indicating where no party objects on

grounds of authenticity, two stars where no party objects on any ground or, where there is an

objection, the objections, responses to objections, and support therefore, is attached hereto as Ex.



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6. Consistent with the Court’s Individual Rules of Practice, each party will provide the Court

with a loose-leaf binder containing one copy of each documentary exhibit to which it has raised

an objection. A cross-reference of the exhibits used during depositions and the trial exhibit

numbers is attached hereto as Ex. 7.

        7.      Motions In Limine. Defendants’ motion in limine is attached hereto as Ex. 8.

The Class will file its response on or before Friday, July 10 in accordance with the Court’s

Individual Rules of Practice.

        8.      Adverse Inference. The parties do not agree “on the wording of an appropriate

adverse inference that the Court shall draw at trial in this matter” in light of its grant of Plaintiff’s

motion for spoliation sanctions. 7/25/14 Order, Dkt. 167 at 20. The Class’s proposal, previously

filed as Dkt. 166, is attached hereto as Ex. 9A, and Defendants’ proposal, previously filed as

Dkt. 172, is attached hereto as Ex. 9B.

        9.      Proposed Findings of Fact and Conclusions of Law. The Class’s proposed

findings of fact and conclusions of law are attached hereto as Ex. 10A. Defendants’ proposed

findings of fact and conclusions of law are attached hereto as Ex. 10B.

        10.     Direct Testimony. Declarations constituting the direct testimony of certain

witnesses who the Class expects to call at trial are attached hereto as Exs. 11A-H. 1 Declarations

constituting the direct testimony of certain witnesses who Defendants expects to call at trial are


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  Provided the Court agrees, by agreement of the parties, the written direct testimony of Class witnesses
Ellen Glickfield and Rita Welz will be submitted as Ex. 11I and Ex. 11J by July 8, 2015. This
supplementation is necessary because Ms. Glickfield’s deposition could not be conducted until the
afternoon of June 30 and Ms. Welz’s deposition has had to be postponed due to Ms. Welz’s recent
surgery. See 5/20/15 Order (Dkt. 312) (endorsing parties’ agreement for conducting pre-trial depositions
of certain Class witnesses including former Foot Locker Human Resources Department employees Ms.
Glickfield and Ms. Welz; “[t]he parties shall use their best efforts to complete the depositions of the
designated witnesses by the end of June”). Defendants reserve their right to object to Ms. Welz’s
appearance as a trial witness if suitable arrangements cannot be made to take her deposition in advance of
trial.

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attached hereto as Exs. 12A-C. In the cases of the parties’ respective actuarial experts and the

Class’s financial economics expert, they will swear into evidence relevant portions of their

expert reports when called. The relevant portions of the expert reports of the Class’s actuarial

expert Lawrence Deutsch, E.A. are attached hereto as Ex. 13A (opening report) and Ex. 13B

(rebuttal report). The relevant portions of the expert reports of the Class’s financial economics

expert Clark Maxam, Ph.D are attached hereto as Ex. 14. The relevant portions of the expert

reports of Defendants’ actuarial expert Lawrence Sher, E.A. are attached hereto as Ex. 15A

(opening report), Ex. 15B (rebuttal report), Ex. 15C (supplemental report) and Ex. 15D (second

supplemental report). The Class objects to the introduction of Ex. 15D as untimely because, by

Mr. Sher’s own description, his purportedly newly acquired information was readily available

following a 2012 law change. As the Court was previously advised, and as the Court has

apparently agreed (see Dkt. 312) each party intends to supplement the reports of their experts

with direct testimony.




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Dated: July 1, 2015                 /s/ Eli Gottesdiener
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                                    Steven D. Cohen
                                    Albert Huang
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                                    Attorneys for Plaintiff and the Class



Dated: July 1, 2015                 /s/ Myron D. Rumeld
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